                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE


TERRY LYNN KING,                              )
                                              )
         Plaintiff,                           )      CAPITAL CASE
                                              )
v.                                            )      Case No. 3:18-cv-01234
                                              )      Judge William L. Campbell, Jr.
TONY PARKER, et al.,                          )      Magistrate Judge Jeffrey S. Frensley
                                              )
         Defendants.                          )



                             NOTICE OF CORRECTED FILING


         Defendants hereby give notice that they have corrected Exhibit 2 to D.E. 184, Defendants’

Statement of Facts in Support of Their Motion for Summary Judgment. Defendants have filed the

Corrected Exhibit with this Notice.

         Specifically, Exhibit 2 is the deposition transcript of Debbie Inglis. A copy of the same

has been in Plaintiff’s possession since at least December 1, 2021. See D.E. 163-7 (Inglis

Deposition Excerpt.)



                                                            Respectfully submitted,

                                                            HERBERT H. SLATERY III
                                                            Attorney General and Reporter

                                                            s/ Rob Mitchell
                                                            ROB MITCHELL (32266)
                                                            Senior Assistant Attorney General
                                                            MALLORY SCHILLER (36191)
                                                            MIRANDA JONES (36070)
                                                            CODY N. BRANDON (037504)



     Case 3:18-cv-01234 Document 195 Filed 04/05/22 Page 1 of 3 PageID #: 11420
                                             DEAN S. ATYIA (039683)
                                             Assistant Attorneys General
                                             SCOTT C. SUTHERLAND (29013)
                                             Deputy Attorney General
                                             Law Enforcement and
                                             Special Prosecutions Div.
                                             P.O. Box 20207
                                             Nashville, Tennessee 37202-0207
                                             Off. (615) 532-6023
                                             Fax (615) 532-4892

                                             Robert.Mitchell@ag.tn.gov
                                             Mallory.Schiller@ag.tn.gov
                                             Miranda.Jones@ag.tn.gov
                                             Cody.Brandon@ag.tn.gov
                                             Dean.Atyia@ag.tn.gov
                                             Scott.Sutherland@ag.tn.gov




                                    2


Case 3:18-cv-01234 Document 195 Filed 04/05/22 Page 2 of 3 PageID #: 11421
                                CERTIFICATE OF SERVICE
       I certify that on the April 5, 2022, a copy of the foregoing was filed and served via the

Court’s CM/ECF system on the following:



Alex Kursman                                         Bass, Berry & Sims 150 Third Ave. South
Lynne Leonard                                        Nashville, TN 37201
Anastassia Baldridge                                 (615) 742-6200
Hayden Nelson-Major                                  desquivel@bassberry.com
Assistant Federal Defenders                          smiller@bassberry.com
Federal Community Defender for the E.D.              jeremy.gunn@bassberry.com
Penn.                                                michael.tackeff@bassberry.com
Suite 545 West, The Curtis
601 Walnut St.                                       Alice Haston
Philadelphia, PA 19106                               Amy Rao Mohan
(215) 928-0520                                       Christopher C. Sabis
alex_kursman@fd.org                                  Sherrard Roe Voight & Harbison, PLC
lynne_leonard@fd.org                                 150 Third Ave. South
ana_baldridge@fd.org                                 Suite 1100
hayden_nelson-major@fd.org                           Nashville, TN 37201
                                                     (615) 742-4539
David Esquivel                                       ahaston@srvhlaw.com
Sarah Miller
                                                     amohan@srvhlaw.com
Jeremy Gunn
                                                     csabis@srvhlaw.com
Michael Tackeff


                                                             s/ Rob Mitchell
                                                             ROB MITCHELL




                                                3


  Case 3:18-cv-01234 Document 195 Filed 04/05/22 Page 3 of 3 PageID #: 11422
